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             10
                                          EASTERN DISTRICT OF CALIFORNIA
             11
                                                 SACRAMENTO DIVISION
             12

             13 RALPH COLEMAN, et al.,                                Case No. 2:90-CV-00520- KJM-DB

             14                  Plaintiffs,                          ORDER

             15          v.
                                                                      Judge:    Hon. Kimberly J. Mueller
             16 GAVIN NEWSOM, et al.

             17                  Defendants.

             18

             19          On June 26, 2024, Defendants filed an ex parte request for leave to file an ex parte request
             20 for clarification and application for an order extending the deadline to deposit funds with the Court

             21 and to file certifications as required by the Court’s June 25, 2024 order on staffing contempt, ECF

             22 No. 8291. ECF Nos. 8298, 8298-1. The court granted the first request by bench order at a status

             23 conference on June 27, 2024. That order is confirmed.

             24          Good cause appearing, Defendants’ request for a ten-day extension to file the certifications
             25 and deposit funds with the Court beginning with the May 2024 staffing reports and for all future

             26 reports is granted, and the deadline to deposit funds with the Court and to file certifications for the

             27 May 2024 staffing reports as required by the Court’s June 25, 2024 order is extended to

             28 July 8, 2024. In addition, the Court clarifies the June 25, 2024 order as follows:


18995858.1                                                        ORDER
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              1          1.     Defendants’ deadline to file staffing vacancy reports for May 2024 is June 28,

              2 2024;

              3          2.     Defendants shall have ten days from the filing of each monthly staffing report to

              4 deposit any accrued fines set forth in the report;

              5          3.     Defendants Gavin Newsom, Joe Stephenshaw, and Stephanie Clendenin shall have

              6 ten days from the filing of each monthly staffing report to review and submit certifications

              7 regarding data in the monthly staffing reports; and

              8          4.     Defendants Gavin Newsom, Joe Stephenshaw, and Stephanie Clendenin, each may

              9 submit the required certifications through an authorized designee only if the defendant is

             10 unavailable. As used in this order “unavailable” means the named defendant is unable to review

             11 the monthly report and sign the required certification within the ten day period set by this order

             12 due to (1) illness; (2) pre-planned vacation; or (3) work commitment during the ten day period that

             13 makes review of the report and certification impossible. The reason(s) for signature by a designee

             14 shall be included in any certification signed by that designee. If a designee signs on behalf of a

             15 defendant as provided here, the defendant shall be held to the designee’s certification.

             16          This order resolves ECF Nos. 8298 and 8298-1.

             17          IT IS SO ORDERED.

             18 DATED: June 27, 2024.

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18995858.1                                                       ORDER
